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     Attorneys for Plaintiff
11   LAURI VALJAKKA
12                             IN THE UNITED STATES DISTRICT COURT

13                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

14                                       OAKLAND DIVISION

15     LAURI VALJAKKA,                               Case No. 3:22-cv-01490-JST
16
                       Plaintiff,                    PLAINTIFF LAURI VALJAKKA’S
17                                                   EMERGENCY MOTION FOR
               v.                                    LEAVE TO PRESENT LIVE
18                                                   TESTIMONY AT HEARING ON
       NETFLIX, INC.,                                NETFLIX’S MOTION FOR
19                                                   PRELIMINARY INJUNCTION
20                     Defendant.
                                                     Judge: Hon. Jon S. Tigar
21                                                   Date: September 21, 2023
                                                     Time: 2:00 p.m.
22                                                   Crtrm: 6 – 2nd Floor
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              PLAINTIFF’S MOT. TO PRESENT LIVE TESTIMONY – Case No. 4:22-CV-01490-JST
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               Plaintiff Lauri Valjakka (“Valjakka”) files this emergency motion for leave to present live
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2    testimony of one witness, Onni Hietalahti, at the hearing on Netflix, Inc’s motion for preliminary

3    injunction scheduled for September 21, 2023. 1

4              Mr. Hietalahti’s testimony will be offered on four topics relevant to Netflix’s preliminary
5
     injunction motion, and on Netflix’s supplemental evidence filed September 20, 2022:
6
                  •   The CDN Licensing agreement, under Finnish law
7
                  •   Reasons for the formation of CDN Licensing and its purposes;
8
9                 •   The effect of the CDN agreement on the patent-in-suit; and

10                •   The consideration paid under the CDN agreement.
11             Mr. Hietalahti’s has personal knowledge of the facts because he is an officer of CDN
12
     Licensing, and he is a licensed attorney in Finland.
13
               Valjakka anticipates that Mr. Hietalahti’s testimony will take approximately 15 minutes.
14
               This motion is brought at this time because the necessity of Mr. Hietalahti’s testimony
15

16   regarding CDN Licensing became evident upon Netflix’s filing of the excerpts of the transcripts

17   of Valjakka’s damages expert regarding CDN Licensing, and Valjakka’s counsel was only able to

18   confirm today that Mr. Hietalahti, who lives in Finland will be available to testify at the hearing.
19             Mr. Hietalahti’s testimony is being offered to explain the intent and purpose of the CDN
20
     Licensing agreement under Finnish law, which forms the basis for Netflix’s preliminary injunction
21
     motion. Mr. Hietalahti’s personal knowledge of the facts and his knowledge of Finnish law are
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     being offered to assist the Court in its analysis of the factual allegations and argument in Netflix’s
23

24   motion.

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         Civil Local Rule 7-6 requires a Court Order to present live testimony at a motion hearing.
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               PLAINTIFF’S MOT. TO PRESENT LIVE TESTIMONY – Case No. 4:22-CV-01490-JST
          Case 4:22-cv-01490-JST Document 169 Filed 09/20/23 Page 3 of 3




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     Dated: September 20, 2023          Respectfully submitted,
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                                        RAMEY LLP
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                                        Attorneys for Plaintiff
16                                      LAURI VALJAKKA

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             PLAINTIFF’S MOT. TO PRESENT LIVE TESTIMONY – Case No. 4:22-CV-01490-JST
